Case 2:23-cv-00045-ES-LDW Document 98 Filed 03/08/23 Page 1 of 1 PageID: 188




                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


  Edwin Cruz Morales, et al.,                     Civil Action No.

                 Plaintiffs,                      23-45 (ES) (LDW)

  v.                                              ORDER

  Next Stop 2006, Inc., et al.,

                 Defendants.


       THIS MATTER having come before the Court by way of a March 8, 2023 case

management conference before the undersigned to address plaintiffs’ request for leave to file a

Motion to Amend (ECF No. 95), and defendants having advised of their opposition to the proposed

amendments (ECF No. 96), and for good cause shown,

       IT IS on this day, March 8, 2023:

       ORDERED that:

   1. The parties shall meet and confer to attempt to resolve their disputes concerning

       amendment of the current pleading.

   2. If, in good faith and on objectively reasonable grounds, the parties cannot resolve their

       disputes, then plaintiffs’ Motion to Amend shall be briefed on the following schedule:

       plaintiffs shall file the Motion on or before March 31, 2023; opposition thereto shall be

       filed on or before April 28, 2023; and reply, if any, shall be filed on or before May 12,

       2023.


                                              s/ Leda Dunn Wettre
                                             Hon. Leda Dunn Wettre
                                             United States Magistrate Judge
